                               UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF NORTH CAROLINA
                                    CHARLOTTE DIVISION
                                 NO. 3:09-CR-00039-FDW-DCK
UNITED STATES,                                            )
                                                          )
                  Plaintiff,                              )
                                                          )
    v.                                                    )            ORDER
                                                          )
MICHAEL GREENE,                                           )
                                                          )
                  Defendant.                              )
                                                          )



         On March 7, 2013, he United States Court of Appeals for the Fourth Circuit affirmed the

conviction of Defendant Michael Greene and remanded the matter for re-sentencing pursuant to

United States v. Dorsey1. See United States v. Greene, No. 11-4324 (4th Cir. March 7, 2013).

         Upon the remand, this Court once again has jurisdiction over this matter.

         Defendant filed a pro se motion for a new trial (Doc. No. 642) on June 21, 2012, when

this matter was on appeal and this Court lacked jurisdiction.2 Now that this Court has

jurisdiction, this Court can hear the motion for a new trial. The Fourth Circuit also directed this

Court to hear the Defendant’s motion for a new trial. See Greene, Slip op, at 5, n.3.




1
 132 S.Ct. 2321 (2012).
2
 Defense counsel also filed a motion for a new trial (Doc. No. 679) but subsequently withdrew that motion (Doc.
No. 684), stating that defense counsel’s motion “essentially duplicates” the pro se motion. The Court interprets this
to mean that defense counsel adopted the pro se motion, and the pro se motion is no longer pro se but effectively a
motion filed by counsel.



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       The Court hereby ORDERS the United States to respond to Defendant’s motion for a

new trial by April 30, 2013.

                                         Signed: March 21, 2013




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